      Case 2:21-cv-00186-SRB Document 116 Filed 01/25/22 Page 1 of 1



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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   State of Arizona, et al.,                        No. CV-21-00186-PHX-SRB
10                  Plaintiff,                        ORDER
11   v.
12   United States Department of Homeland
     Security, et al.,
13
                    Defendants.
14
15         Due to a clerical error;
16         IT IS ORDERED vacating the order scheduling a Rule 16 Scheduling Conference

17   set on February 24, 2022.
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19                 Dated this 25th day of January, 2022.

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